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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 ORGANIZED COMMUNITIES                     )
 AGAINST DEPORTATION;                      )
 BRIGHTON PARK NEIGHBORHOOD                )
 COUNCIL; ILLINOIS COALITION               )
 FOR IMMIGRANT AND REFUGEE                 )
 RIGHTS; and RAISE THE FLOOR               )
 ALLIANCE,                                 )   Case No. 25-cv-868
                                           )
        Plaintiffs,                        )
 v.                                        )
                                           )
 BENJAMINE HUFFMAN, Acting                 )
 Secretary of the United States            )
 Department of Homeland Security;          )
 CALEB VITELLO, Acting Director of         )
 Immigration and Customs                   )
 Enforcement; and IMMIGRATION              )
 AND CUSTOMS ENFORCEMENT in                )
 their official capacities,                )
                                           )
                  Defendants.              )
                                           )



        Plaintiffs ORGANIZED COMMUNITIES AGAINST DEPORTATION;

BRIGHTON PARK NEIGHBORHOOD COUNCIL, ILLINOIS COALITION FOR

IMMIGRANT AND REFUGEE RIGHTS, and RAISE THE FLOOR ALLIANCE, by

their undersigned attorneys, hereby complain against Defendants, and state as follows.

                                  INTRODUCTION

        1.     The Plaintiffs are all Chicago-based organizations that provide

advocacy and support to Chicago neighborhoods and immigrant communities. They are

also leaders in the national Sanctuary City Movement, which advocates for a



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constellation of policies and support aimed at creating vibrant, welcoming communities

where immigrants and all people can thrive. Sanctuary Cities adopt “a variety of

policies intended to engender a greater level of trust and cooperation between local law

enforcement and communities with sizable immigrant populations, regardless of

immigration status. These policies include offering English-language classes; issuing

municipal identification documents and driver’s licenses to all residents. . .” 1

         2.       Sanctuary City policies are entirely lawful, improve community safety, 2

and provide economic benefits both to U.S. citizens and people who are undocumented. 3

These laws—and the movement that birthed them—reflect communities’ respect for

the human dignity of all people and commitment to the universal common good. 4

          3.      The Plaintiffs and their membership proudly advocate for and help

sustain Chicago’s status as the third largest Sanctuary City in the United States. 5 This

is why Donald Trump’s administration has declared Chicago “ground zero” 6 for




   1 Sanctuary Policies: An Overview, American Immigration Council (Dec. 2023),

   https://www.americanimmigrationcouncil.org/sites/default/files/research/sanctuary_policies_an_overvi
   ew.pdf.
   2 Heidi Altman and Jordyn Rozensky, The Safety of Sanctuary Cities and the Immigrant

   Revitalization Perspective, National Immigrant Justice Center (Oct. 16, 2020),
   https://immigrantjustice.org/staff/blog/safety-sanctuary-cities-and-immigrant-revitalization-
   perspective; see also Alex Nowrasteh, Andrew C. Forrester, and Michelangelo Landgrave, Illegal
   Immigration and Crime in Texas, Cato Institute (Oct. 13 2020)
   https://www.cato.org/sites/cato.org/files/2020-10/working-paper-60.pdf (counties with larger
   populations of undocumented immigrants have lower rates of violent crime).
   3Alexander D. Natanson, Economic Impacts of Sanctuary and ICE Policies Inclusive and Exclusive

   Institutions (2021) https://appliedecon.oregonstate.edu/sites/agscid7/files/applied-
   economics/economic_impacts_of_sanctuary_and_ice_policies.pdf.
   4 Eli S. McCarthy, A Virtue-Based Just Peace Ethic, Journal of Moral Theology Vol. 7, No. 2 92-101

   (June 2018).
   5 Federation for American Immigration Reform, Ten of the Largest Sanctuary Cities in the U.S.
   6 Emily Soto, Chicago Alderpeople React to Claims City Will Be Ground Zero for Mass Deportations,

   WTTW (Dec. 12, 2024).


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immigration enforcement. The federal government intends to “make an example” 7 of

Chicago and target Plaintiffs’ communities with immigration raids in an attempt to

destroy the Sanctuary City Movement.

          4.     President Trump and his cadre of advisors consistently spew vitriol

   towards the Sanctuary City Movement. They have pledged to dismantle Sanctuary

   Cities and publicly affirmed that immigration raids would target Chicago in order to

   “make an example” 8 out of the City and discourage the further spread of the

   Sanctuary City Movement. The federal government’s plan to use Chicago-based

   immigration raids to quash the Sanctuary City Movement is a clear and obvious

   violation of the First Amendment.

          5.     The Trump administration has promised and has recently commenced 9

   its plan for an unprecedented wave of mass deportations, which will separate

   families, devastate local economies, and tear at the very fabric of our communities

   while fostering massive intimidation and fear that impedes Plaintiff’s Sanctuary

   advocacy.

          6.     This lawsuit seeks to enforce the Plaintiffs’ rights under the First

   Amendment of the United States Constitution and the Administrative Procedures

   Act. Plaintiffs seek temporary and permanent injunctive relief so they can continue

   their Sanctuary City advocacy and movement work unimpeded by the Trump



   7 Mark Moore, Trump's Incoming Border Czar Tom Homan Promises 'Big Raid Across the Country'

   Starting Tuesday, The Latin Times (Jan. 18, 2025).
   8 Id.
   9 Ali Bauman, Newark mayor says business raided by ICE agents, multiple people detained, CBS

   News, (Jan. 24, 2025).



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administration’s unlawful attempts to silence them. Plaintiffs also seek an order

vacating the Defendants’ policy of initiating Chicago-based immigration raids for the

unlawful purpose of targeting and suppressing the Plaintiffs’ Sanctuary City

Movement.

                           JURISDICTION AND VENUE

      7.      This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331,

and the United States Constitution’s First Amendment.

      8.      Declaratory and injunctive relief is sought as authorized in 28 U.S.C. §

2201 and 2202, and vacatur under 5 U.S.C. § 702.

      9.      Venue is proper under 28 U.S.C. 1391(b). Defendants are United States

agencies or officers sued in their official capacities. Plaintiffs are community groups

whose residents reside in the State of Illinois, and the events giving rise to this

complaint occurred, are occurring, and will occur in the State of Illinois, within the

City of Chicago.

                                       PARTIES

           10. Plaintiff BRIGHTON PARK NEIGHBORHOOD COUNCIL (“BPNC”) is

a community-based, nonprofit organization serving a working-class neighborhood on

Chicago’s Southwest Side. BPNC’s mission is to create a safer community, improve

the learning environment at public schools, preserve affordable housing, provide a

voice for youth, protect immigrant rights, promote gender equality, and end all forms

of violence, including police violence. As a result of U.S. Immigration and Customs

Enforcement’s (ICE) planned immigration raids targeting Chicago for its sanctuary




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policies, the BPNC is forced to spend additional time and money developing new

policies and trainings for staff regarding potential enforcement action at their

workplaces and supporting a coalitional effort to respond to community requests via

a rapid response hotline, diverting resources away from the organization’s focus on

other social justice issues critical to its mission, including education, housing,

immigration, and gender. The BPNC brings this action on its own behalf and as an

organizational representative.

         11. Plaintiff ORGANIZED COMMUNITIES AGAINST DEPORTATION

(“OCAD”) is an undocumented-led group that organizes against deportations,

detention, criminalization, and incarceration, of Black, brown, and immigrant

communities in Chicago and surrounding areas. Through grassroots organizing,

legal and policy work, and cross-movement building, OCAD aims to defend its

communities, challenge the institutions that target and dehumanize its

communities, and build collective power. OCAD fights alongside families and

individuals challenging these systems to create an environment for its communities

to thrive, work, and organize with happiness and without fear. As a result, OCAD is

forced to spend additional time and resources addressing the devastating

consequences suffered by its members and the communities it supports and

represents as a result of the planned raids, diverting resources away from the

organization’s focus on other social justice issues critical to its mission, including

immigration, racial, economic, and gender justice. OCAD brings this action on its

own behalf and as an organizational representative.




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         12. Plaintiff ILLINOIS COALITION FOR IMMIGRANT AND REFUGEE

RIGHTS, INC. (“ICIRR”) is a non-profit organization based in Chicago, Illinois.

ICIRR promotes the rights of immigrants and refugees to full and equal

participation in civic, cultural, social, and political life in Illinois and beyond. ICIRR

has nearly 100 member organizations throughout Illinois. Member organizations

include community health centers, health and nutrition programs, social service

providers, neighborhood associations, and other organizations that work to ensure

immigrants receive the support they need for their families to be successful. Because

of the planned ICE raids in Chicago, ICIRR has diverted resources away from core

organizational policy advocacy work toward, and is instead coordinating rapid

response efforts and trainings for impacted communities. ICIRR brings this action

on its own behalf and as an organizational representative.

      13.    Plaintiff RAISE THE FLOOR ALLIANCE (“RTF”) is a coalition of

community-based worker centers who build power in low-wage industries,

predominantly among non-union workers. RTF’s efforts are focused on industries

with high rates of immigrant and undocumented populations–domestic work and

cleaning, day labor, temporary staffing, warehouses, restaurants, and food

production. RTF works closely with and for undocumented workers as they combat

conditions in labor markets and the political economy that allow for the exploitation

of working people. RTF has been involved in sanctuary city advocacy in Chicago for

almost a decade. In response to the impending raids, RTF has diverted resources

away from its core mission of protecting and building power among low-wage




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workers and is instead addressing responses and plans for immigration raids in

workplaces. It has been forced to deviate from planned meeting agendas that are

germane to its core mission of improving workplace conditions for low wage workers

in order to educate and protect portions of its base from threats of deportation and to

educate workers not under direct threat of deportation as to how to support

vulnerable workers. It has conducted workshops on how to respond to ICE and

worksite raids. Its entire staff has revamped existing work plans in order to

prioritize the needs of the heavily immigrant communities it and its member

organizations serve. RTF brings this action on its own behalf and as an

organizational representative.

      14.    Defendant Benjamine Huffman is the acting secretary of the U.S.

Department of Homeland Security. In this capacity, he is charged with enforcing and

administering U.S. immigration laws. He is sued in his official capacity. The

Department of Homeland Security (DHS) is a Cabinet-level department of the U.S.

government. Its stated missions involve anti-terrorism, border security,

immigration, and customs.

      15.    Defendant Caleb Vitello is the Acting Director for U.S. Immigration and

Customs Enforcement. In this capacity, he is charged with administering the

enforcement of United States immigration law. He is sued in his official capacity.

      16.    Defendant Immigration and Customs Enforcement (ICE) is a

component agency of DHS. ICE enforces immigration and customs law and is




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responsible for the detention and removal of immigrants, as well as conducting

enforcement actions like raids.

                             FACTUAL ALLEGATIONS

      A.     Plaintiffs’ Advocacy has Sustained Chicago as a Sanctuary City

      17.    Plaintiffs are leaders in the Chicago-based Sanctuary City Movement.

As a result of this movement, for decades, Chicago has been a Sanctuary City. It

initially adopted the designation in the 1980s via an Executive Order from then-

Mayor Harold Washington. In 2006, the City Council passed a Welcoming Cities

Ordinance (WCO). In 2016 and in years following, Plaintiffs collaborated with City

officials to ensure that—in the wake of Defendant Trump’s 2016 election—Chicago’s

Sanctuary City protections for immigrants remained strong and intact.

      18.    The Ordinance, Chapter 2-173 of the Chicago Municipal Code,

recognizes the strength that accrues to the City by virtue of its diversity and its

immigrant populations.

      19.    Section 2-173-020 prohibits City agencies from requesting information

about or otherwise investigating the citizenship or immigration status of any person

unless required by other law, with limited exceptions.

      20.    Section 2-173-030 prohibits the disclosure of information regarding the

citizenship or immigration status of any person unless otherwise provided for by

federal law or legal process, or with consent of the individual.




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      21.      Section 2-173-040 prohibits the City from conditioning City benefits,

opportunities, or services on citizenship or immigration status unless required by

other law.

      22.      Section 2-173-042 limits City agencies’ participation in immigration

enforcement.

      23.      The Seventh Circuit Court of Appeals analyzed Chicago’s Sanctuary

City ordinance and concluded that the law does not provide for any affirmative

interference with immigration enforcement. Instead, Chicago’s law prohibits local

law enforcement from aiding in “civil immigration enforcement through informing

the federal authorities when persons are in their custody and providing access to

those persons at the local law enforcement facility.” City of Chicago v. Sessions, 888

F.3d 272, 282 (7th Cir. 2018), reh'g en banc granted in part, opinion vacated in part,

No. 17-2991, 2018 WL 4268817 (7th Cir. June 4, 2018), vacated, No. 17-2991, 2018

WL 4268814 (7th Cir. Aug. 10, 2018). The Appellate Court noted that decisions

regarding the allocations of local law enforcement resources are generally left to

local officials—and for good reason: “Some localities might choose to cooperate with

federal immigration efforts, and others may see such cooperation as impeding the

community relationships necessary to identify and solve crimes. The choice as to how

to devote law enforcement resources—including whether to use such resources to aid

in federal immigration efforts—would traditionally be one left to state and local

authorities.” Id.




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       24.    Following Defendant Trump’s election in 2024, City of Chicago Mayor

Brandon Johnson, in collaboration with the Plaintiffs, re-affirmed the City’s

commitment to the goals of Plaintiffs’ Sanctuary City Movement. Mayor Johnson

stated that Chicago “will not bend or break… Our values will remain strong and

firm. We will face likely hurdles in our work over the next four years, but we will not

be stopped and we will not go back.” 10

       25.    Plaintiffs have been and continue to be outspoken advocates for

Chicago’s status as a sanctuary city.

       26.    For example, OCAD and its members have participated in public

advocacy around the Welcoming City ordinance for years. In 2015, OCAD became a

founding member of the Chicago Immigration Working Group (CIWG), which aimed

to keep a clear line of separation between local police and federal immigration

authorities. This work and outspoken advocacy have been consistent through four

different mayoral administrations.

       27.    OCAD’s advocacy has continued to the present. In January 2025, its

members rallied to help defeat challenges to the Ordinance proposed by members of

Chicago’s City Council. Those challenges would have eliminated the Ordinance’s

strongest protections and negatively impacted OCAD’s members.

       28.    Similarly, ICIRR and its coalition partners have long supported the

sanctuary movement at both the local and state level. In 2012, ICIRR successfully




10 Heather Cherone, Chicago Will Remain a Sanctuary City, Despite Donald Trump’s Threats, Mayor
Brandon Johnson Says, WTTW (Nov. 12, 2024),


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advocated to expand Chicago’s existing ordinance. For the next decade, ICIRR

drafted language for amendments to the ordinance and publicly organized for their

passage until the ordinance’s carve outs were eliminated in 2021.

      29.    In January 2025, like OCAD, ICIRR and its coalition members played a

key role in helping to defeat the harmful amendments proposed by two members of

Chicago’s City Council.

      30.    ICIRR also continues to engage in sanctuary advocacy at the state level

and in other Illinois municipalities. It has forcefully supported the passage of robust

sanctuary laws in those venues, including most recently in Evanston, through its

development of model policies and drafting and strategizing support.

      31.    Likewise, BPNC and its participants have been vocal in their support of

Chicago’s status as a sanctuary city.

      32.    Specifically, over the last five years, BPNC has invested resources in

organizing mayoral and alderman candidate forums to persuade new candidates to

support the elimination of prior carve outs in the Welcoming City ordinance. BPNC

has also collaborated with the Sanctuary for All coalition to develop city-wide

strategies to grow protections for immigrants. More broadly, BPNC has successfully

advocated and organized to create sanctuary policies in Chicago public schools and to

strengthen sanctuary provisions at the state level.

      33.    Like OCAD and ICIRR, in early January BPNC also protested the effort

by two members of Chicago City Counsel to dilute the protections of the Welcoming

City ordinance.




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       34.     RTF also has consistently engaged in advocacy regarding the

Welcoming City ordinance. Like OCAD, ICIRR, and BPNC, RTF team members

advocated for the policy and helped to educate workers about the change in policy in

Chicago. Through its strategic communications work, RTF highlighted cases of

arrests that led to immigration consequences for immigrant workers, calling

attention to the need for stronger protections in the Welcoming City ordinance prior

to the elimination of carve outs in 2021.

       35.     During the recent effort in 2025 to roll back some of the protections of

the Welcoming City ordinance, RTF leadership held meetings with Chicago

alderpeople pushing them to reject proposed carve outs. RTF also submitted a

written public comment and requested the opportunity to speak in opposition in

preparation for the public meeting on the proposed carve outs.

       36.     In addition to being a Sanctuary City, Chicago is also a certified

Welcoming City. “Certified Welcoming” is a formal designation for cities and counties

that have created policies and programs reflecting their values and commitment to

immigrant inclusion. This innovative program assesses city and county governments

on their efforts to include and welcome immigrants in all areas of civic, social, and

economic life in their communities.” 11 Plaintiffs further Chicago status as a

Welcoming City by organizing mutual aid and other supports to help meet the needs

of immigrants, their families and communities.

       B.      Sanctuary and Welcoming City Policies Create Better
               Communities for People of All Immigration Statuses

11 Chicago’s status as a ‘Certified Welcoming’ city can be viewed at

https://welcomingamerica.org/initiatives/certified-welcoming/.


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       37.     Cities, like Chicago, which adopt Sanctuary policies have lower crime

rates compared to cities without those policies. There are, on average, 35.5 fewer

crimes committed per 10,000 people in (sanctuary) counties compared to counties

[without Sanctuary City protections].” 12 Sanctuary City policies “significantly reduce

the most extreme form of domestic violence: domestic homicide. Sanctuary City

policies lower “the domestic homicide rate for [Latina] women by 62%.” 13

       38.     No studies have demonstrated a link between sanctuary policies and

increased crime. 14 Instead, extensive research proves that “when local law

enforcement focuses on keeping communities safe, rather than becoming entangled

in federal immigration enforcement efforts, communities are safer and community

members stay more engaged in the local economy. This in turn brings benefits to

individual households, communities, counties, and the economy.” 15

       39.      Even the International Association of Chiefs of Police cautions against

permitting local law enforcement to assume responsibility for immigration

enforcement: “[L]ocal law enforcement should not be involved in the enforcement of

civil immigration laws since such involvement would likely have a chilling effect on

both [citizens and non-citizens] reporting criminal activity or assisting police in

criminal investigations. . . [T]his lack of cooperation could diminish the ability of law




12 Walter Ewing, Cities with ‘Sanctuary’ Policies Save Lives from Domestic Violence, Immigration

Impact (June 5, 2020).
13 Id.
14Sanctuary Policies: An Overview, American Immigration Council (December 2020).
15 Tom K. Wong, The Effects of Sanctuary Policies on Crime and the Economy, Center for American

Progress (Jan. 26, 2017).


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enforcement agencies to effectively police their communities and protect the public

they serve.” 16

        40.     Economic research demonstrates that Sanctuary City policies provide

an economic benefit to U.S. Citizens and people who are undocumented.

“[I]mmigrant-inclusive policies [like Sanctuary City laws] have positive effects on the

local economy and can contribute to reversing economic decline.” 17

        41.     Median household annual income is, on average, $4,353 higher in

sanctuary counties compared to non-sanctuary counties. This holds true for white,

Black, and Latine households. 18 The poverty rate is 2.3 percent lower, on average, in

sanctuary counties compared to non-sanctuary counties. Unemployment is, on

average, 1.1 percent lower in sanctuary counties compared to non-sanctuary

counties.

        42.     One study posits that Sanctuary City policies provide economic benefits

across racial lines because “sanctuary counties are keeping families together—and

when households remain intact and individuals can continue contributing, this

strengthens local economies.” 19




16 Yuki Otsu, Sanctuary Cities and Crime, 192 J Econ. Behav. & Org. 600, 601-602 (2021).
17 In Kwon Park et. al., The effects of ‘sanctuary city’ policies on the local economy, 27 Int’l J. Urb. Sci.

19 (2022).
18 Tom K. Wong, The Effects of Sanctuary Policies on Crime and the Economy, Center for American

Progress (Jan. 26, 2017).
19 Id.




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       C.     Federal Immigration Authorities have Long Targeted the
              Sanctuary Movement

       43.    During the early 1980s, hundreds of thousands of Central Americans

arrived in the U.S. seeking asylum from brutal civil wars, severe political repression,

mass killings, and other forms of extreme violence. Despite the enactment of the

1980 Refugee Act, which provided for humanitarian protection to individuals fleeing

these types of conditions, ICE’s predecessor, the Department of Justice Immigration

and Naturalization Service (INS), specifically targeted Central American refugees

for deportation. Viewing these actions as immoral, racist, and motivated by the U.S.’

backing of military regimes in Central America, communities across the country

responded in what would become the Sanctuary Movement. 20

       44.    Calling themselves “sanctuaries,” communities and houses of worship

began building networks of support to assist the growing number of refugees. They

opened their doors to provide physical shelter, as well as food, medical care,

employment, and legal representation within their sacred spaces. They spoke out

about the immorality of U.S. immigration policy and partnered with families to

highlight the hardship each had faced. By 1985, the Sanctuary Movement had grown

to over 500 member sites across the United States. 21 By the mid-1980s, the INS

retaliated against Sanctuary Movement members in full force, hoping to “disband”

what they viewed as a modern “underground railroad” by sending paid informants to




20 See Gary MacEoin, Sanctuary: A Resource Guide for Understanding and Participating in the
Central American Refugees’ Struggle 14 (G. MacEoin ed., 1985).
21 Puck Lo, Inside the New Sanctuary Movement That’s Protecting Immigrants From ICE, The Nation

(May 6, 2015).


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infiltrate, record, and monitor them under “Operation Sojourner.” 22 These

undercover agents, posing as congregants and clergy, attended and taped worship

services and other church gatherings and documented license plate numbers, which

culminated in a series of high-profile show trials in Texas and Arizona, also known

as the “Sanctuary Trials.” 23 Legal scholars at the time criticized this disturbing

phenomenon as part and parcel of a “spotty American tradition of subjecting

supposedly treasonous political and social movements to ordeals of harassment and

prosecution.” 24 While these prosecutions resulted in the felony convictions of eight

sanctuary leaders, none of the eight ended up serving time in jail. 25

       45.     The 1980s Sanctuary Movement galvanized public outrage over the

government's wrongful retaliation against asylum seekers, giving rise to landmark

legislation and court decisions. In 1990, Congress passed legislation allowing for

Temporary Protected Status for immigrants from certain countries. The following

year, the settlement agreement in American Baptist Churches v. Thornburgh

resulted in stays of removal and new asylum procedures that allowed many

Salvadorans and Guatemalans to remain in the U.S. 26 In 1997, Congress passed The

Nicaraguan Adjustment and Central American Relief Act, which allowed for the




22 Kristina M. Cambell, Operation Sojourner: The Government Infiltration of the Sanctuary Movement

in the 1980’s and its Legacy on the Modern Central American Refugee Crisis, 13(3) Univ. St. Thomas.
L.J. 474, 480 (2017).
23 Id. at 480-482.
24 Id. at 384; see also Peter Applebome, Sanctuary Movement: New Hopes After Trial, N.Y. Times (May

6, 1986).
25 Barbara Bezdek, Religious Outlaws: Narratives of Legality and the Politics of Citizen

Interpretation, 62 TENN. L. REV. 899, 906 n.21 (1994-1995).
26 American Baptist Churches v. Thornburgh, 760 F. Supp. 796 (N.D. Cal. 1991).




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suspension or cancellation of removal for many asylum seekers from Central

America and former Soviet bloc countries.

          46.     The Sanctuary Movement reignited in the 2000s, and their advocacy

and actions have spurred legislative changes at the local and state levels, as

localities have adopted “sanctuary” measures to welcome and protect immigrant

residents. 27

          D.      The U.S. Government Has a Long History of Violating the First
                  Amendment Rights of Social Movement Organizations that
                  Advocate for Progressive Social Change and Critique the State

          47.     In the late 1960s, FBI Director J. Edgar Hoover used FBI agents to

infiltrate and undermine Black organizations and spy on and discredit individual

leaders who were part of the Civil Rights Movement–including the Black Panther

Party. Federal documents reveal that the U.S. government, often in coordination

with local law enforcement, unlawfully engaged in various strategies designed to

“neutralize the BPP as a political voice on racial issues.” Hampton v. Hanrahan, 600

F.2d 600, 624 (7th Cir. 1979), cert. granted in part, judgment rev'd in part, 446 U.S.

754 (1980).

          48.     During the height of the Civil Rights Movement, the states of Alabama

and Virginia attempted to use administrative regulation and criminal law to target

the NAACP and prevent the organization from engaging in advocacy aimed at

redressing racial discrimination, and more specifically advocacy aimed at each

state's racially discriminatory laws and practices. In each instance, the state’s


27   See, e.g., Christopher N. Lasch et al., Understanding “Sanctuary Cities,” 59 B.C.L. REV. 1703
(2018).


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regulatory attempts were motivated by animus towards the NAACP’s advocacy and

were invalidated by the U.S. Supreme Court on First Amendment grounds. See Nat'l

Ass'n for Advancement of Colored People v. Button, 371 U.S. 415, 435–36 (1963)

(challenging Virginia’s prohibitions related to litigation and legal work); Nat'l Ass'n

for Advancement of Colored People v. State of Ala. ex rel. Patterson, 357 U.S. 449, 460

(1958) (challenging Alabama’s attempts to regulate the NAACP through means that

would put its membership at risk and frustrate the organization’s goals”).

       49.     In Chicago, a coalition of social justice organizations sued federal and

local law enforcement, alleging that the defendants subjected the Coalition to

intrusive surveillance without a legitimate law enforcement purpose. After the court

found that the Coalition stated First Amendment violations, the parties resolved this

case through settlement. Alliance to End Repression v. Chicago, 561 F. Supp.

537,540 (N.D. Ill. 1982).

       E.      Defendants’ Chicago-Based Immigration Raids Are Aimed At
               Destroying The Plaintiff’s Sanctuary City Advocacy And
               Movement Work

       50.     Trump’s animosity towards Chicagoans’ support for Sanctuary City

policies is long-standing and well-documented.

       51.     In October 2019, speaking in Chicago, Trump criticized Chicago’s

stance towards immigrants, stating that “Chicago is, unfortunately, the worst

sanctuary city in America. Chicago protects criminals at a level few could even

imagine.” 28


28 Remarks at the International Association of Chiefs of Police Annual Conference, Trump White

House Archive (Oct. 28, 2019).


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       52.      Despite the Seventh Circuit’s holding that, under current law, the

Department of Justice has no authority to withhold funds from Sanctuary Cities,

Trump has promised to strip federal funds from Chicago and other sanctuary cities

again this term to coerce cities to comply with his immigration agenda. 29

       53.      Project 2025, the blueprint for the Trump Administration, further

affirms its hostility to the Sanctuary City Movement with references to immigration

enforcement that has been hobbled by “Left’s wokeness and weaponization against

Americans whom the Left perceives as its political opponents.” 30 This transition plan

reflects an intent to withhold federal funding from local jurisdictions that do not

participate in immigration enforcement 31 and to require ICE to enforce immigration

law against immigrants who participate in “civil disobedience” even in the absence of

a warrant. 32

       54.      In the days and weeks before the inauguration, Trump and other

officials repeatedly affirmed their intention to target Chicago with sweeping

immigration raids. 33 Trump’s immigration czar Tom Homan pledged that

immigration enforcement would “start right here in Chicago.” 34




29 Heather Cherone, As Donald Trump Takes Office, Chicago Officials Prepare to Push Back on His

Agenda, WTTW ( Jan. 20, 2025).
30 Ken Cuccinelli, The Common Defense: Department of Homeland Security 135 (Project 2025, The

Heritage Foundation 2024).
31 Id. at 150.
32 Id. at 141.
33 Joe Barrett, Michelle Hackman, & Paul Kiernan, Trump to Begin Large-Scale Deportations

Tuesday, Wall Street Journal (Jan. 17, 2025).
34 Josh Marcus, Trump’s first major deportation effort will hit Chicago, says Report, The Independent

(Jan. 18, 2025).


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          55.   The Washington Post also reported on November 26, 2024, that

members of the President’s circle involved in planning for Sanctuary City

crackdowns believed that “Chicago is going to be made an example of.” 35

          56.   The Wall Street Journal documented the Trump administration’s intent

to target Plaintiffs’ communities and the Sanctuary City Movement in Chicago: “The

transition team had been contemplating cities to target in a day-one operation as a

way of making an example of so-called sanctuary cities, which adopt policies limiting

cooperation with federal immigration authorities. They settled on Chicago both

because of the large number of immigrants who could be possible targets and

because of the Trump team’s high-profile feud with the city’s Democratic Mayor

Brandon Johnson.” 36

          F.    Immigration Raids Create Widespread Harm That Devastates
                Entire Communities-Including U.S. Citizens.

       57.      Immigration raids pose immediate, severe, and long-lasting harm to

individuals. These harms are not limited to people against whom ICE initiates

immigration proceedings. Immigration raids lead to individual and family trauma,

economic devastation, educational system disruption, and public health and safety

crises.

       58.      Thirty-seven percent of Illinois undocumented families have at least

one child who is a U.S. Citizen and who is under the age of 18. 37 Approximately 70%




35 Jacob Bogage & Jeff Stein, Trump team eyes funding showdown with ‘sanctuary cities’ over

immigration, Washington Post (Nov. 26, 2024).
36 Barrett, supra.
37 Profile of the Unauthorized Population: Illinois, Migration Policy Institute.




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of people who are undocumented live in “mixed-status” families, meaning that the

family includes both undocumented immigrants and U.S. citizens. 38 Of the 22 million

people in households with an unauthorized immigrant, 11 million are U.S. born or

lawful immigrants, including: 1.3 million U.S.-born adults who are children of

unauthorized immigrants, and 1.4 million other U.S.-born adults and 3.0 million

lawful immigrant adults. 39

       G.      Raids are likely to ensnare U.S. citizens and violate the Fourth
               Amendment rights of those targeted

      59.      In its intention to “make an example of Chicago” and in promising an

unprecedented wave of mass deportations, the federal government will flood Chicago

with officers and arrest and detain in large numbers to continue fostering its

campaign of intimidation and fear toward the Sanctuary City Movement. Arrests and

detentions that are not in accordance with ICE’s own regulations are a practical

certainty.

      60.      U.S. citizens have been wrongfully arrested for immigration purposes in

recent years. Indeed, a 2021 report from the Government Accountability Office (GAO)

indicates that “ICE arrested 674, detained 121, and removed 70 potential U.S.

citizens from fiscal year 2015 through the second quarter of fiscal year 2020.” 40 The

GAO noted that “ICE guidance [on investigating citizenship] is inconsistent and ICE




38 Jeffrey S. Passel & Jens Manuel Krogstad, What we know about unauthorized immigrant living in

the U.S., Pew Research Center (Jul. 22, 2024).
39 Id.
40 U.S Government Accountability Office, Immigration Enforcement:

Actions Needed to Better Track Cases Involving U.S. Citizenship Investigations,
https://www.gao.gov/products/gao-21-487.


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does not systematically track these encounters.” 41 For example, in the ICE raid just

yesterday, on January 23, 2025, in the Sanctuary City of Newark, New Jersey, also

targeted by Defendants, citizens were detained and “terrorized” including a U.S.

military veteran. 42

         61.     ICE has also issued immigration detainers to local law enforcement

that resulted in wrongful arrests. See e.g., Galarza v. Szalcyk, 745 F.3d 634, 636, 638

(finding that a Latino U.S. citizen was wrongfully held in custody under an

immigration detainer for several days after he posted bail); Creedle v. Miami-Dade

Cty., 349 F. Supp. 3d 1276 (S.D. Fla. 2018); Brown v. Ramsay, Case No. 4:18-cv-

10279, S.D. Fla. (2018). Studies conducted in Miami-Dade County in Florida and

Travis County in Texas indicate that ICE frequently issues detainers erroneously. 43

In one case, the CATO Institute reported that “ICE detained [a man] in Texas for

almost two years while he attempted to prove his derivative citizenship claim.” 44

         62.     Many of these wrongful arrests occurred because ICE relies on flawed

databases that are not necessarily accurate or updated as citizenship status changes

for the assessment of citizenship. Indeed, ICE’s databases came under scrutiny in

Gonzalez v. ICE, 416 F. Supp. 3d 995 (C.D. Cal. 2019). There the court pointed out

that “the aggregation of information ICE receives from [its] databases is largely


41 Id.
42 Ali Bauman, Newark mayor says business raided by ICE agents, multiple people detained, CBS

News N.Y. (Jan. 24, 2025),
43 Jerry Iannelli, ICE Issued False Deportation Requests for 420 U.S. Citizens, in Miami-Dade,

ACLU Reports, Miami New Times (Mar. 20, 2019);David J. Bier, U.S. Citizens Targeted by ICE: U.S.
Citizens Targeted by Immigration and Customs Enforcement in Texas, Cato Institute (Aug. 29, 2018)
(“applying the rate of wrongful detainers in Travis County to all detainers in the state of Texas from
2006 to 2017 implies that ICE wrongfully placed detainers on at least 3,506 U.S. citizens statewide.).
44 Id.




                                                  22
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erroneous and fails to capture certain complexities and nuances of immigration law.”

Id. at 1011. Given ICE’s long track record of arresting, detaining, and even deporting

U.S. citizens, it is likely the planned raids will sweep up citizens.

      63.      Chicago is home to one of the largest communities of Latin American

immigrants in the country. A 2005 report from the University of Notre Dame noted

that Latine people made up 20% of the Chicagoland population in 2004, numbering

more than a million people and that approximately 20,000 Latine immigrants,

primarily from Mexico, arrived in the City each year. 45 In 2014, demographic

research estimated that Latin American immigrants made up 85% of undocumented

immigrants in Chicago, as opposed to a 6% share for European immigrants. 46 ICE

disproportionately targets Latine people for immigration enforcement. 47 For example,

an expert report submitted in City of South Miami v. Desantis, Case No. 19-CV-

22927, S.D. Fla. (2019) explains that “persons from South and Latin America and the

Caribbean comprised 76.4 percent of undocumented immigrants, but 93.4 percent of

480,987 ICE arrests from FY 2015 to May 2018.” 48 Clearly, the planned raids will

disproportionately impact racial and national origin minorities as intended by

Defendants.




45 Allen Brown-Gort and Timothy Ready, The State of Latino Chicago: This is Home Now, Notre Dame

Institute for Latino Studies (2005).
46 Fred Tsao, Illinois’ Undocumented Immigrant Population: A Summary of Recent Research by Rob

Paral and Associates, Illinois Coalition for Immigrant and Refugee Rights (2014).
47 See, e.g., David Scott FitzGerald, Gustavo López, and Angela Y. McClean, Mexican Immigrants

Face Threats to Civil Rights and Increased Social Hostility, Center for Comparative Immigration
Studies University of California, San Diego (Feb. 28, 2019).
48 Miami et. al. v. DeSantis et. al.,(19-cv-2297)(S.D. Fla), Expert Report of Dr. Allan J. Lichtman.




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      H.      Raids cause myriad harms where they are effectuated


            1. Trauma Imposed on Children and Families

      64.      The planned immigration raids will impose significant harm on the

children living in immigrant communities regardless of immigration status.

Immigration raids instill pervasive fear and anxiety, spanning community-wide in

immigrant neighborhoods. Children, neighbors, and other witnesses of immigration-

related arrests experience trauma, often leaving intergenerational effects.

      65.      Children and adolescents are more susceptible to experiencing mental

health problems following a parent’s deportation or detention. 49 The sudden

separation from their parents or fear of deportation causes children to suffer from

toxic stress, increasing their risk of developing chronic mental health challenges

including depression, post-traumatic stress disorder, suicidal ideation, substance

use, and aggression. 50

       66.     Children of parents in removal proceedings also become more likely to

suffer from physical health conditions including cancer, stroke, diabetes, and heart

disease. 51 Immigration enforcement may even increase the risk to children’s health

before birth, including potentially fatal neonatal complications. 52




49Fact Sheet: U.S. Citizen Children Impacted by Immigration Enforcement, American Immigration

Council (June 24, 2021).
50 Id.
51 Fact Sheet: U.S. Citizen Children Impacted by Immigration Enforcement, American Immigration

Council (June 24, 2021).
52 Id.




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       67.    Immigration enforcement harms students’ well-being and leads to

academic discrepancies among students. 53 Students afraid for their loved ones in

proceedings tend to become chronically absent and decline in their academic

performance. 54 “The parents’ detentions or removals force parents to be less engaged

in their children’s education. 55 Consequently, students cannot take full advantage of

the academic, behavioral, or social skills that parents would otherwise be able to

offer. 56

       68.    Many early care and education workers expressed anxiety and concern

in response to changing immigration policy during the first Trump Administration.

One study conducted during the Trump Administration found that childcare and

early education providers were struggling to support children and families who were

under additional stress, including some who had experienced the detention or

deportation of a parent. 57

       69.    “After a Tennessee workplace raid in April 2018 detained 97

undocumented workers, behavioral issues and substance use among local Latine

students increased, including among U.S. citizen children whose families were not

directly involved in the raid. Substance use disorders during the raid year were 1.5




53 STILL AT RISK: THE URGENT NEED TO ADDRESS IMMIGRATION ENFORCEMENT’S

HARMS TO CHILDREN, Center for Law and Social Policy (June 2023).
54 Fact Sheet: U.S. Citizen Children Impacted by Immigration Enforcement, American Immigration

Council (June 24, 2021).
55 Id.
56 Id.
57 Immigration Policy’s Harmful Impacts on Early Care and Education, Center on Law and Policy,

(2018).


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times above the average rate, while diagnoses of self-harm, suicide attempts, or

suicidal ideation increased by 50%.” 58

         70.     “Nearly half of U.S.-born Latino adolescents are concerned, at least

some of the time, with the personal impacts of U.S. immigration policy, family

separation caused by deportation of a loved one, and a family member being reported

to an immigration office (41%). These adolescents are more likely to experience

higher levels of anxiety, sleep issues, and adverse blood pressure changes. ” 59

         71.     Research documents the harmful health impacts of immigration

worksite raids. One study found that infants born to Latina mothers were more

likely to be low birth weight than infants born to white mothers the year after an

immigration raid occurred in Postville, Iowa. 60 Increased risk of low birth rates was

observed for USA-born and immigrant Latina mothers. These findings highlighted

the post-immigration raid implications of racialized stressors not only for the health

of Latino immigrants but also for those born in the United States.

         72.     The trauma and adverse health impacts of immigration affect

significantly more people than those arrested. As explained by former ICE Director

John Morton, unrestricted arrests in sensitive locations harm the larger community,




58 Id.
59 Id.
60 Arline T Geronimus, and Aresha M Martinez-Cardoso, and Nicole L Novak,   Change in birth
outcomes among infants born to Latina mothers after a major immigration raid, Int J Epidemiol,
2017 Jun.


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resulting in “people with contagious diseases too scared to go to the hospital or

children going uneducated[.]” 61

         2. Economic devastation in immigrant communities and generally



      73.      Immigration raids generate a pervasive climate of fear among

immigrant communities, causing affected individuals to avoid public spaces, reduce

shopping trips, and limit other forms of local economic participation. 62 As a result,

small businesses—particularly those serving immigrant neighborhoods—experience

sudden downturns, decreased revenue, and, in some cases, closures. 63

      74.      Removing half a million immigrants from the labor market due to

enforcement reduces employment among U.S.-born individuals by approximately

44,000. 64 Additionally, instead of driving local wages up, immigration enforcement is

associated with downward pressure on wages for most Americans as jobs are lost

and the economy contracts. 65

      75.      Raids and the ensuing labor instability jeopardize vital sectors of

Chicago’s economy, including hospitality, manufacturing, and service industries—




61 Trump plans to scrap policy restricting ICE arrests at churches, schools and hospitals, NBC NY,

(Dec. 2024).
62 Octavio Blanco, The Economic Consequences of ICE Raids Are Far Reaching, Marketplace (Aug. 22,

2019).
63 Jacqueline Hagan, David Leal, and Nestor Rodriguez, Deporting Social Capital: Implications for

Immigrant Communities in the United States, 50 Int'l Migration Rev. 282, 298-99 (2015).
64 Chloe N. East, Philip Luck, Hani Mansour, and Andrea Velasquez, The Labor Market Effects of

Immigration Enforcement, 41 J. Lab. Econ. 957, 958 (2023).
65 Michael Clemens, The Labor Market Effects of Deportations, Peterson Inst. for Int'l Econ. (Mar. 6,

2024).


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sectors that employ a large share of immigrant workers. 66 Sudden detention or

deportation of employees disrupts productivity and forces employers to grapple with

elevated hiring and training costs.

      76.      Forced family separations and sudden job losses strain Chicago’s social

safety net, including shelters, food pantries, and emergency assistance programs. 67

Local governments and nonprofits must divert limited resources to meet the basic

needs of individuals affected by raids—needs that previously might have been

covered by steady employment. 68 These costs effectively act as a hidden tax on all

local residents, who bear the financial burden of replacing lost wages and stabilizing

displaced families.

      77.      Chicago benefits significantly from immigrant entrepreneurs who

launch restaurants, retail shops, and professional services that bolster the local

economy and create jobs. 69 When federal raids sow fear in these communities,

prospective or current immigrant business owners are less likely to invest capital,

expand operations, or even register new ventures. 70 This chilling effect stifles

innovation, deprives the city of additional tax revenue, and curtails a crucial source




66 Alexia Elejalde-Ruiz, No Unauthorized Immigrants? Manufacturing, Hospitality Workforces Would

Struggle, Chi. Trib. (Jan. 13, 2017).
67 See e.g., CBS Chicago, Chicago Food Pantries Stretched Thin as They Work to Feed Asylum Seekers,

CBS News (May 30, 2023).
68 Regina Day Langhout et al., The Effects of Deportation on Families and Communities, Soc'y for

Cmty. Rsch. & Action (2018).
69 Kelly Bauer, Chicago's Immigrant Businesses Created $659 Million In Income In 1 Year, Report

Says, Block Club Chi. (Jan. 7, 2019).
70 Chicago Businesses Sound Alarm Over Trump's Immigration Raids, Newsweek (Jan. 20, 2025),




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of job growth, ultimately harming not just immigrant neighborhoods but all Chicago

residents. 71




      I.        Plaintiffs Are Diverting Resources from Their Primary Missions
                to Address the Harm Caused by the Threats of Chicago’s Raids

       78.      ICE’s planned raids have caused substantial concern and confusion in

the communities served by ICIRR, BPNC, RTF, and OCAD. The Plaintiffs’ staff have

dedicated extensive time and resources towards providing emotional support to

members, program participants, and constituents who fear ICE enforcement in their

community. The increased need for support and reliable information about ICE

activity has significantly increased the amount of time, resources, and energy that

ICIRR, BPNC, and OCAD must devote to their telephone hotline service, which is

jointly run and staffed by ICIRR, BPNC, and OCAD.

       79.      Prior to the announcement of planned raids, the hotline primarily

provided general information to community members about immigration resources

and calls regarding suspected ICE activity were uncommon. However, after the

announcement of the planned raids the hotline saw an increase in call volume from

community members seeking information about their rights and those reporting

suspected ICE activity. At times the hotline has received dozens of calls an hour

regarding suspected ICE enforcement. Verifying this information takes significant



71 Paul McDaniel, Entrepreneurship and Innovation in Welcoming Cities: Lessons from Chicago,

Dayton, and Nashville, Am. Immigr. Council (Feb. 2016).


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time for the Plaintiffs’ staff as they attempt to differentiate between accurate versus

mistaken reports. The increased need for Plaintiffs’ services as a result of ICE's

planned raids has caused Plaintiffs to place a hold on other projects and

programming to urgently train members and new staff, meet community requests

for Know Your Rights presentations, and develop other strategies to defend the

rights of the communities they serve. Additionally, due to the increased calls,

Organizational Plaintiffs had to make the difficult decision to discontinue the hotline

service at certain times of the day because of the mental and emotional toll that call

intensity was exacting on their staff.

      80.    Because of the staff time needed to respond to urgent requests related

to ICE raids, ICIRR has shifted significant time and attention away from their core

campaign work for immigrant economic justice. These campaigns include efforts to

secure a state-guaranteed income program for immigrants who are not otherwise

able to access public benefits. Instead of dedicating time to obtaining grant funding

and building out the platform and advocacy plan for this work, ICIRR has been

forced to put this work on hold to address coordination of Know Your Rights

presentations, facilitation of the hotline, and volunteer training for on-the-ground

rapid response teams. ICIRR expanded its support and training of rapid response

teams from five groups in local communities before the announcement of potential

raids to now support twelve rapid response groups around the Chicago metropolitan

area. In an attempt to meet the increase in the community's need for services, the




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ICIRR has sought additional funding, which in and of itself requires a substantial

amount of organizational time and resources.

      81.    BPNC facilitates numerous community programs, advocacy efforts, and

services regarding education justice, healthcare justice, comprehensive immigration

reform, community safety and violence prevention, and economic justice. In regard to

these five program areas, the staff of BPNC provides services to over 7,000 Chicago

residents, including direct support services in 15 neighborhood schools serving 2,000

students in school programs focused on needs like mental health, college access, and

other educational needs. Because of the anticipated immigration raids, BPNC has

redirected significant staff time away from these program areas to instead focus on

1) creating and implementing new policies and trainings for the organization in

relation to potential ICE enforcement at BPNC locations, 2) supporting the

immigration rapid response hotline, and 3) providing mental health resources

focused specifically on the threat of immigration enforcement. BPNC estimates that

well over 400 staff hours have been shifted from core program areas to this raid

response and preparation work.

      82.    While RTF’s typical day-to-day work focuses on ensuring labor rights

for immigrant workers and day laborers through worksite campaigns and legislative

policy work, RTF’s staff shifted resources drastically in response to the news of

planned immigration raids. RTF staff increasingly has fielded calls from workers

and organizers at the worker centers they support, and now also in the broader

community, regarding what to do in the event of a workplace or home raid by ICE.




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The legal department developed a script guide for answering these calls given the

increasing need to provide quick information about people’s legal rights, even though

RTF typically does not support immigration casework. Legal team staff also

attended a three hour Continuing Legal Education presentation regarding workplace

raids, and would not have done so but for the imminent threat. In addition, in

anticipation of raids, the organization moved the date of its planned worker

assembly, which brings together approximately 200 worker leaders, to before the

inauguration for coordination purposes. While the worker assemblies typically focus

on worksite campaigns and policy goals, the discussion focused largely on planning

in anticipation of targeted ICE enforcement.

      83.    Prior to ICE’s raid threats, OCAD had been prioritizing work such as

helping members and constituents navigate housing insecurity. These activities

grounded to a halt when OCAD learned of ICE’s planned raids. OCAD had also been

in the process of engaging in developing internal processes and procedures that it

needs to operate effectively. For example, OCAD had been conducting retreats

focused on internal conflict resolution skills, working to recruit new members,

fundraising, and finalizing internal processes for core functions like how to conduct

new hiring, as well as developing new job descriptions for future staff. However,

since OCAD first learned of the planned raids in Chicago this core organizational

development work has come to a halt and internal meetings around this work,

including on topics such as new hiring, were canceled.




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      J.      Plaintiffs Have Experienced a Chilling Effect of Their First
              Amendment Rights and Participation in Daily Activities Because
              of ICE’s Planned Raids

       84.      The threat of ICE agents flooding into communities has already

impacted Chicagoans and chilled their rights to freely exercise their religion and

assemble.

       85.      At least one church has canceled in-person Spanish-language services

to protect its congregation. 72

       86.      On January 24, 2025, Secret Service agents attempted to enter a public

elementary school in a predominately Latine Chicago neighborhood because an 11-

year-old child reportedly posted on social media a video law enforcement regarded as

“anti-Trump.” 73 Federal law enforcement presence at a Chicago elementary school

stowed fear in the community and concern that the Trump administration was

making good on its pledge to conduct enforcement activities in schools, churches and

other places.

       87.      BPNC staff who work in schools have reported that since the

announcement of planned raids, all of their school programs are suffering from low

attendance because families are scared of potential ICE enforcement targeting their

children at schools. While BPNC is focused on supporting these families, because

their funding for these programs is tied to specific attendance metrics, low




                                   Chicago braces for immigration crackdown and deportations
72 Gabe Gutierrez and Kailani Koenig,

under Trump, NBC News (Jan. 20, 2025).
73 Secret Service, Not ICE Denied Entry at Chicago School Despite Initial Reports, Francia Garcia
Hernandez, Block Club Chicago, (Jan. 20, 2025)


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attendance caused by the threat of ICE raids could jeopardize their ability to

continue their after-school education and mental health programming.

      88.    OCAD members and staff have also expressed fear that they will be

targeted by ICE for their ongoing pro-immigrant advocacy. OCAD staff have also

noted that since word of the planned raids got out, organization members and

constituents have been racked with fear, affecting their ability to carry out daily

activities, seek services that they need, and exercise First Amendment rights. For

example, members have voiced fear about going to see the doctor, going to the

hospital, or interacting with social workers. Members have also expressed fears

about sending their children to school or attending church.

      89.    RTF staff have noted that since the announcement of the planned raids,

the large number of workers it serves has been in a state of sheer panic. Worker

leaders that RTF supports have reported that, increasingly, immigrant day laborers

do not want to speak with representatives from the worker center coalition because

they are on guard for potential interrogation or covert immigration enforcement.

Directors of the RTF member worker centers report fewer people coming into their

offices, and that since the announcement of potential raids, more people from their

communities are staying home out of fear of arrest and targeting. This climate of

fear harms the organizing goals and provision of legal services and hinders

immigrant workers’ participation in both accessing basic services and engaging in

First Amendment expression.




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       K.        The Trump Administration Only has Discriminatory
                 Justifications for Targeting Plaintiffs’ Communities with
                 Immigration Raids

         90.     Data regarding Chicago’s immigrant communities and the City’s

decreasing crime rates demonstrate that the Trump administration has no-non-

discriminatory reason for selecting Chicago as “ground zero” for immigration

enforcement.

         91.     The following graph demonstrates that Texas and Florida, two states

with Republican governors who are hostile to the Sanctuary City Movement, have

almost triple the number of undocumented people compared to Illinois. The Trump

Administration has not declared these states as “ground zero for immigration

enforcement” because targeting them will not harm the Sanctuary City Movement.


Undocumented Immigrant Population Estimates by Top 10 States of Residence: 2018–2020 and 2022 74



    State             2018*                   2019             2020     2022
     Total                    11,570,000   11,110,00        10,510,00   10,990,000
                                                   0                0
    California                2,640,000    2,620,000        2,410,000   2,600,000
    Texas                     1,950,000    1,950,000        1,900,000   2,060,000
    Florida                     680,000      650,000         610,000      590,000
    New Jersey                  460,000      390,000         400,000      490,000
    Illinois                    460,000      440,000         370,000      420,000
    New York                    600,000      510,000         370,000      410,000
    North                       360,000      340,000         360,000      360,000
    Carolina
    Georgia                     390,000      360,000         360,000      340,000
    Washington                  310,000      330,000         340,000      340,000
    Arizona                     340,000      330,000         340,000      290,000
    Other or                  3,380,000    3,200,000        3,040,000   3,090,000
    Unknown




                                        Estimates of the Unauthorized Immigrant Population
74 Office of Homeland Security Statistics,

Residing in the United States: January 2018-January 2022 (April 2024),


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        92.   In August 2022, the Texas Republican Governor began busing asylum

seekers to Chicago. An April 2024 Chicago Tribune analysis of arrest data

documents that migrants who were arrested were charged with minor infractions

like traffic infractions and theft. A criminologist who evaluated the data concluded

that these arrests were “certainly not a violent crime wave [instead the arrests

reflect] people who are deprived of resources.”

        93.   This is consistent with Chicago Police Department data reflecting that

crime rates in Chicago have consistently decreased over the past two years. 75


                                      LEGAL CLAIMS

                                          COUNT I

                                     First Amendment

       94.    Plaintiffs incorporate by reference each of the paragraphs in this

Complaint as if restated fully herein.

       95.    A “fundamental principle of the First Amendment is that the

government may not punish or suppress speech based on disapproval of the ideas or

perspectives the speech conveys. The test for viewpoint discrimination is whether. . .

the government has singled out a subset of messages for disfavor based on the views

expressed.” Matal v. Tam, 582 U.S. 218, 220–21 (2017).




75 Chicago Police Department, CompStat Data, Jan 2025(demonstrating decreasing crime rate)




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      96.    Plaintiffs have advocated for and helped to sustain Chicago’s status as

a Sanctuary City and are leaders in the national Sanctuary City movement. They

engage in widespread public education and advocacy around the implementation of

Sanctuary City policies and contribute significantly to Chicago’s status as a

Welcoming City by supporting migrant families, helping them identify and secure

resources for housing, medical care and other life necessities. Plaintiffs’ Sanctuary

City advocacy and movement work is protected speech and content.

      97.    Defendants have pledged to launch immigration raids in the City of

Chicago specifically for the purpose of ending the Plaintiffs’ Sanctuary City advocacy

and movement building. Defendants further intend to “make an example” of Chicago

to destroy the Sanctuary City Movement across the nation.

      98.    Defendants have no compelling state reason to make the Plaintiffs’

communities “ground zero” for immigration enforcement.

      99.    Defendants' threats and imminent plans to conduct immigration raids

in Plaintiffs’ communities in an effort to end the Sanctuary City Movement in

Chicago and elsewhere undermines Plaintiff organizations’ core missions and

requires them to divert significant resources to respond to the Defendants

discriminatory threats and imminent raids.

      100.   Defendants’ threats and imminent plans to conduct immigration raids

in Plaintiffs’ communities in an effort to end the Sanctuary City Movement in

Chicago and elsewhere has chilled the Plaintiff organizations and their membership

from fully exercising their rights to engage in speech and petition the government.




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      101.   Defendants’ threats and imminent plans to conduct immigration raids

in Plaintiffs’ communities in an effort to end the Sanctuary City Movement in

Chicago and elsewhere has affected the Plaintiffs and their members’ ability to join

together. A key part of Plaintiffs’ activism is meeting with people of all immigration

statuses to discuss and analyze shared problems and to envision collective solutions.

Defendants have violated the Plaintiffs’ freedom of association.

      102.   Plaintiffs—each on its own behalf and on behalf of its membership,

wish to continue engaging in their First Amendment-protected activities to the

fullest extent possible, but, as a result of Defendants’ past, present, and likely future

conduct, are deterred from doing so.

                                       COUNT II

                                   28 U.S.C. § 2201

                                Declaration of Rights

      103.   Plaintiffs incorporate each of the paragraphs of the complaint as if

restated fully herein.

      104.   In a case of actual controversy within its jurisdiction, any court of the

United States may declare the rights and other legal relations of any interested

party seeking such declaration, whether or not further relief is or could be sought,

under 28 U.S.C. § 2201.

      105.   There is an actual controversy within the jurisdiction of this court. The

federal government has engaged in actions endangering Plaintiffs First Amendment

rights. No federal authority has agreed to stop this practice.




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      106.   Plaintiffs are entitled to a declaration that the acts at issue are

unlawful and an injunction precluding Defendants from continuing in them.

                                      COUNT III

                               5 U.S.C. § 706(2)(A), (B)

                        The Administrative Procedure Act

      107.   Plaintiffs incorporate by reference each of the paragraphs in this

Complaint as if restated fully herein.

      108.   The Administrative Procedure Act (“APA”) directs federal courts to hold

unlawful and set aside federal agency action that is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law”; or “contrary to constitutional

right.” 5 U.S.C. §§ 706(2)(A), (B).

      109.   Defendants’ policy decision to conduct immigration raids in the City of

Chicago specifically for the purpose of ending the Plaintiffs’ Sanctuary City advocacy

and movement building constitutes final agency action.

      110.   Defendants’ policy decision to conduct immigration raids in the City of

Chicago specifically for the purpose of ending the Plaintiffs’ Sanctuary City advocacy

and movement building violates the First Amendment to the United States

Constitution.

      111.   In its intention to “make an example of Chicago” and in promising an

unprecedented wave of mass deportations, the federal government will flood Chicago

with officers and arrest and detain in large numbers to continue fostering its

campaign of intimidation and fear towards the Sanctuary City movement. We




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anticipate arrests and detentions without sufficient basis under 8 C.F.R. § 287.7,

which sets forth the various regulatory standards and procedures that ICE officers

must satisfy, including regarding stops and interrogations. Defendants’ policy

decision will result in violations of its own regulation.

      112.   Defendants’ policy decision to conduct immigration raids in the City of

Chicago specifically for the purpose of ending the Plaintiffs’ Sanctuary City advocacy

and movement building is arbitrary and capricious and otherwise not in accordance

with the law, and contrary to the constitutional rights of Plaintiffs, and therefore

should be held invalid and set aside under the APA.

      113.   As a result of the Defendants’ acts constituting violations of the APA,

Plaintiffs have been harmed and aggrieved – namely, their core activities have been

frustrated by Defendants’ illegal actions, and they have been forced to divert

substantial resources away from existing programs and core missions to address the

myriad member and community needs arising from Defendants’ planned

enforcement. Plaintiffs’ members and staff have also expressed fear that they will be

targeted by ICE for their ongoing pro-immigrant advocacy.

      114.   The Plaintiffs have no adequate remedy at law.

                               PRAYER FOR RELIEF

      Wherefore, Plaintiffs pray for a judgment and the following relief:

      1.     A declaration, pursuant to 28 U.S.C. § 2201, that the federal actions

described in this complaint constitute a violation of the Plaintiffs’ First Amendment

Rights;




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      2.     An injunction, pursuant to 28 U.S.C. § 2202 and 5 U.S.C. § 702,

permanently enjoining the Defendants from engaging in the federal actions

described in this complaint, and specifically prohibiting the Defendants from

threatening and/or executing Chicago-based immigration raids for the unlawful

purpose of targeting and ultimately destroying the Sanctuary City Movement; and

      3.     An order setting aside the Defendants’ policy to conduct immigration

raids in Chicago for the unlawful purpose of targeting and ultimately destroying the

Sanctuary City Movement.



Respectfully submitted:

DATED this 24th day of January 2025.

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                                 *pro hac vice application forthcoming




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